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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                 Plaintiff,         )                 8:03CR446
                                    )
          v.                        )
                                    )
JOSE MARTIN PANDURO-AVENA,          )                    ORDER
                                    )
                 Defendants.        )
                                    )
                                    )


     IT IS ORDERED:

     The defendant has advised the court of his intent to enter a
plea of guilty and has signed a plea agreement filed of record.
See filing 93.   Accordingly, his motion to suppress, filing 89,
is considered withdrawn.


     DATED this 22nd day of June, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
